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                     THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION


 ALFRED DEWAYNE BROWN,

        Plaintiff

 vs.                                           CIVIL ACTION NO. 4:17-CV-01749

 CITY OF HOUSTON, TEXAS;
 HARRIS COUNTY, TEXAS;                         JURY TRIAL
 BRECK McDANIEL;
 KIM OGG; TED C. BLOYD; and
 D.L. ROBERTSON,

        Defendants.


                       PLAINTIFF’S MOTION TO LIFT STAY

        Plaintiff Alfred Dewayne Brown, by and through his attorneys, hereby moves to lift

the stay imposed on May 30, 2018, and to reinstate this case to the active docket. Mr.

Brown is ready to proceed with the litigation of his claims against Defendants, and it would

be unfair to require him to continue to wait. Pursuant to L.R. 7.1(D), Plaintiff’s counsel

has conferred with counsel for the Defendants, and the parties cannot agree about the

disposition of this Motion.

                              PROCEDURAL BACKGROUND

        Plaintiff Alfred Dewayne Brown was wrongfully convicted of the tragic homicide

of Officer Charles Clark, which occurred during the robbery of an Ace Check Cashing

store in South Houston on April 3, 2003. (Compl. ¶ 32.) On November 5, 2014, the Texas

Court of Criminal Appeals issued an order vacating Mr. Brown’s conviction and sentence,
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and remanded the case to the trial court for “a new trial or other proceeding consistent with

this opinion.” On June 8, 2015, the Harris County District Attorney moved to dismiss the

case against Mr. Brown for insufficient evidence, which the District Court granted.

(Compl. ¶ 140.) Later that day, Mr. Brown was released from custody. (Compl. ¶ 141.)

       Plaintiff filed the instant action on June 8, 2017, asserting claims against each of

Defendants under 42 U.S.C. § 1983 for violations of his constitutional rights. After the

first round of dispositive motions, the Court entered a Scheduling and Docket Control

Order on January 8, 2018, setting the schedule for discovery, motions and docket call in

this matter. At that point, written discovery commenced in this matter. Due to the

voluminous discovery requests and responses required by the subject matter of this lawsuit,

the written discovery process moved slowly. As a result, and because of Plaintiff’s

counsel’s maternity leave from April to mid-May 2018, the parties jointly moved for, and

the Court granted, an extension of the discovery deadlines on March 27, 2018.

       The discovery process, however, was halted on May 2, 2018, when District Attorney

Ogg ordered an independent investigation into Plaintiff Brown’s claim of “actual

innocence” in his criminal case. On May 14, 2018, the Court held a status conference with

the parties regarding the investigation (Dkt. 66) and, at the Court’s request, Defendant

Harris County filed a status report on May 25, 2018, indicating that the investigation was

expected to be complete at the end of August 2018 (Dkt. 71). As a result, on May 30, 2018,

the Court stayed this litigation pending resolution of the independent investigation.

Further, the Court ordered the parties to “file any motion to lift the stay and reinstate the




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case to the active docket within 14 days after the independent investigation is concluded.”

(Dkt. 72.)

       Rather than a few months, the investigation took nearly a year. Finally, on March

1, 2019, District Attorney Ogg announced that the investigation had been completed, that

it concluded that Mr. Brown was “actually innocent,” and that she agreed with the

conclusion. District Attorney Ogg released Mr. Raley’s report and filed an Amended

Motion to Dismiss in the 351st District Court of Harris County, seeking an express order

by the state court that Mr. Brown was actually innocent. The motion was signed by D.A.

Ogg and included Mr. Raley’s report as the sole exhibit. On March 20, 2019, this Court

granted the parties’ request for an extension of the time to reinstate this action to the active

docket once D.A. Ogg’s Motion had been ruled upon by the state court. On May 3, 2019,

the state court granted the Amended Motion to Dismiss, confirming that Mr. Brown is

actually innocent.

       On May 9, 2019, Mr. Brown filed a Request for Wrongful Imprisonment

Compensation with the Office of the Comptroller of the State of Texas, pursuant to the

state’s Tim Cole Act. On May 28, 2019, the Court granted the parties’ second request for

an extension of the time to move to lift the stay, because the Comptroller had not yet ruled

on Mr. Brown’s petition. That Order required that the parties “file any motion to lift the

stay and reinstate the case to the active docket within 14 days after the Office of the

Comptroller of the State of Texas rules on Mr. Brown’s Request for Wrongful

Imprisonment Compensation.” (Dkt. No. 80.) On June 24, 2019, the Comptroller denied

Mr. Brown’s petition. (Ex. 1.)


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                                       ARGUMENT

       In light of the recent decision of the Comptroller, Plaintiff respectfully moves this

Court to lift the stay and return this case to the active docket. It is well-established that

litigation stays should not be indefinite or immoderate in duration. McKnight v. Blanchard,

667 F.2d 477, 479 (5th Cir. 1982). The original purpose for staying this matter—to allow

Special Prosecutor John Raley to complete his investigation into Mr. Brown’s claim of

actual innocence—has long been concluded. District Attorney Ogg’s Amended Motion to

Dismiss, declaring Mr. Brown actually innocent, has been granted. Mr. Brown submitted

his application for compensation with the Texas State Comptroller, and the application was

denied. Though Mr. Brown has continued recourse under the state statute, it would be

unfair, impractical and unnecessary to continue the stay of this litigation while he pursues

that lengthy process.

       To fully exhaust his administrative remedy under the compensation statute, Mr.

Brown is required, within 30 days of the denial letter, to “submit an application to cure any

problem identified.” Tex. Civ. Prac. & Rem. Code § 103.051. The Comptroller then has

45 days to issue a determination on that application. Id. The “problem identified” in the

Comptroller’s denial letter is that “it is not clear that the district court” that granted the

District Attorney Ogg’s amended motion to dismiss “had jurisdiction to withdraw and

reenter a dismissal.” (Ex. 1 at 2.) Though Mr. Brown and his lawyers believe the

Comptroller is wrong, and that the Comptroller has no authority under the statute to even

make such a judgment, this is not a situation where the basis of the Comptroller’s denial is

something that can be “cured.” The Comptroller did not identify, for example, any missing


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documentation, the provision of which would cause him to change his decision. Unless

the Comptroller simply changes his mind on these legal issues that he is unqualified and

unauthorized to address, Mr. Brown’s renewed application “to cure” will be denied.

         If the Comptroller denies Mr. Brown’s renewed application, Mr. Brown then would

have standing to seek relief through a petition for mandamus filed in the Texas Supreme

Court. Tex. Civ. Prac. & Rem. Code § 103.051. Based on the foregoing timeline, the

petition for mandamus would likely be filed in September 2019 at the earliest. As this

Court knows, it is impossible to predict how long it would take for the case to be fully

briefed, argued, and decided in the Texas Supreme Court, but it could take a very long

time.

         Mr. Brown was first incarcerated over 16 years ago, and was released from custody

more than four years ago. He filed this civil case more than two years ago, and it has been

stayed for more than a year. Litigation remains frozen in the early stages of the discovery

process. This case is paradigmatic of the age-old adage “justice delayed is justice denied.”

It is time for Mr. Brown to finally have an opportunity to fully litigate his claims against

the Defendants. Mr. Brown stands ready to pursue his civil claims, and respectfully

requests this Court allow him to do so by lifting the stay and reinstating his case to the

active docket.

         Given the unexpected length of the stay in this matter, the discovery plan currently

in place is long outdated. When this case returns to the active docket, the Court will need

to issue a new order to govern the deadlines for discovery and motions, as well as the

docket call. Plaintiff suggests that the Parties be given fourteen (14) days from the date on


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which the stay is lifted to submit a proposed Amended Scheduling and Docket Control

Order for the Court’s consideration.

                                       CONCLUSION

       Plaintiff Brown respectfully requests that this Court grant this motion, lift the stay

and return this matter to the Court’s active docket.



Date: June 27, 2019                                          Respectfully submitted,

                                                                        EDWARDS KIRBY

                                                  By:      ______/s/ Catharine E. Edwards_
                                                                       Catharine E. Edwards
                                                                  California Bar No. 304137
                                                          3201 Glenwood Avenue, Suite 100
                                                              Raleigh, North Carolina 27612
                                                                  (919) 780-5400 Telephone
                                                                  (919) 800-3099 Facsimile
                                                       E-Mail: cedwards@edwardskirby.com
                                                                    *Admitted Pro Hac Vice

                                                                           LECLAIRRYAN
                                                                       By: /s/ Trevor A. Hall
                                                                               Trevor A. Hall
                                                             Texas State Bar No. 24078617
                                                         Southern District Bar No. 3083689
                                                         1233 West Loop South, Suite 1000
                                                                      Houston, Texas 77027
                                                                  (713) 654-1111 Telephone
                                                                   (713) 650-0027 Facsimile
                                                        E-Mail: trevor.hall@leclairryan.com

                                                             ATTORNEY FOR PLAINTIFF




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                             CERTIFICATE OF SERVICE

       I certify that on the 27th day of June, 2019 a true and correct copy of the foregoing
document was delivered to all counsel of record via the CM/ECF System and served by
electronic notice to all parties of record.

                                                 By:    /s/ Catharine E. Edwards_
                                                        Catharine E. Edwards




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